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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

Yazmin Juárez Coyoy, on her own behalf and           No. 5:19-cv-00916-FB
as surviving parent of M.C.N.J.,

                       Plaintiff,

v.

CoreCivic, Inc.,

                       Defendant.



                DEFENDANT CORECIVIC, INC.’S MOTION TO COMPEL

       Pursuant to Federal Rule of Civil Procedure 37(a)(1), and Item No. 31 of the Court’s “Fact

Sheet,” CoreCivic moves the Court for an order compelling Plaintiff to provide responses to

CoreCivic’s Requests for Production No. 7–8, 18, 19, 26–27, and 34 and Interrogatory No. 6. As

detailed below, these discovery requests seek relevant material that is proportional to the needs of

the case. CoreCivic requires this information to adequately explore and evaluate Plaintiff’s claims.

This Motion is supported by the following Memorandum of Points and Authorities and attached

exhibits.

                    MEMORANDUM OF POINTS AND AUTHORITIES

I.     BACKGROUND

       A.      Plaintiff’s Allegations.

       Plaintiff and her daughter, M.J., were apprehended by U.S. Customs and Border Patrol

(“CBP”) agents on March 1, 2018 at the southern border. (Dkt. 1, ¶¶ 86-87.) After being detained

at a CBP immigration processing center for four days, they were transferred to the South Texas
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Family Residential Center (“STFRC”) on March 5, 2018. 1 (Id., ¶¶ 87-88.) Plaintiff alleges that

upon arrival to STFRC, she and M.J. were assigned to living quarters with five other mothers—

each with a child—and that one boy had a runny nose and a cough. (Id., ¶¶ 89-90.) She claims

that, within a week, M.J. developed similar symptoms, including congestion and a cough, and that

she was subsequently treated for a cold, ear infection, and acute viral bronchiolitis. (Id., ¶¶ 91–

92.)

       On March 25, 2018, Plaintiff and M.J. traveled to New Jersey after being released from

ICE custody. (Id., ¶ 102.) Upon arriving in New Jersey, M.J. was seen and treated by a pediatrician

who instructed Plaintiff to seek emergency medical attention if M.J.’s condition deteriorated

further. (Id., ¶ 108.) Plaintiff took M.J. to a local hospital, where her condition deteriorated. (Id.

at ¶¶ 8, 109.) Six weeks later, on May 10, 2018, M.J. died. (Id., ¶¶ 108-110.) The cause of death

was identified as “bronchiectasis, pulmonitis, and pneumothorax (collapsed lung).” (Id.) Plaintiff

sues CoreCivic, alleging it is responsible for M.J.’s death. 2

       The only claim that survived CoreCivic’s Motion to Dismiss is Plaintiff’s sanitation claim.

Plaintiff alleges CoreCivic was negligent in failing to ensure safe and sanitary conditions at

STFRC, and that these conditions caused M.J.’s death. (Id., ¶¶ 116, 118–119; Dkt. 19 at 9.)

Through discovery, Plaintiff provided additional detail for her claim. Specifically, that CoreCivic

“failed to provide safe and sanitary rooms and facilities, including by failing to keep sick detainees

away from the healthy population, providing crowded and cramped living conditions, and ensuring



1
  STFRC is owned and operated by CoreCivic pursuant to a correctional services agreement with
the United States Immigration and Customs Enforcement (“ICE”).
2
  This is one of three cases Plaintiff is currently litigating against various defendants regarding
M.J.’s detention at STFRC and subsequent death. See Yazmin Juárez Coyoy v. City of Eloy, Civil
Action No. 2019-cv-01391 (D. Ariz. 2019), appeal docketed, No. 19-17539 (9th Cir. Dec. 19,
2019); Yazmin Juárez Coyoy v. United States of America, Civil Action No. 20-cv-02501 (D.N.J.).
A motion to transfer the case to Texas is currently pending in the District of New Jersey matter.

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that sheets were regularly changed for sick detainees.” See Exhibit 1 (Declaration of A. Hesman)

at ¶ 1, Attachment A, Rog. 14.

       B.      CoreCivic’s Discovery Requests.

       On December 23, 2019, CoreCivic propounded its First Set of Requests for Production and

First Set of Interrogatories. (Id. at ¶ 1.) After providing Plaintiff a thirty-day extension of time to

respond, Plaintiff responded on February 21, 2020. (Id.) On March 11, 2020, Defense counsel

sent Plaintiff’s counsel detailed correspondence outlining the deficiencies with Plaintiff’s

responses. (Id. at ¶ 3.) Plaintiff’s counsel responded on March 23, 2020. (Id. at ¶ 4.) In an attempt

to reach resolution without Court intervention, on May 5, 2020, Defense counsel sent Plaintiff’s

counsel additional correspondence. (Id. at ¶ 5.) CoreCivic subsequently propounded Second,

Third, Fourth, and Fifth Sets of Requests for Production. (Id. at ¶ 6.) Plaintiff completed her

responses to these requests on April 10, 2020. (Id. at ¶ 7.) On May 15, 2020, Defense counsel

sent Plaintiff’s counsel correspondence detailing the deficiencies with Plaintiff’s responses to

CoreCivic’s Second, Third, Fourth, and Fifth Sets of Request for Production. (Id. at ¶ 8.) On May

29, 2020, Plaintiff’s counsel responded to Defense counsel’s May 5 and 15, 2020 correspondence.

(Id. at ¶ 9.) The parties met and conferred on June 3, 2020. (Id. at ¶ 10.)

       While they were able to informally resolve some disputes, Plaintiff refused to provide

complete responses to several Requests for Production and one Interrogatory. (Id.) For the reasons

detailed below, the Court should compel Plaintiff to provide responses.

II.    THE COURT SHOULD COMPEL PLAINTIFF TO PROVIDE THE RELEVANT
       AND PROPORTIONAL INFORMATION SOUGHT IN CORECIVIC’S
       DISCOVERY REQUESTS.

       “[T]he purpose of discovery is to provide the parties with information essential to the

proper litigation of all relevant facts, eliminating surprise, and promoting settlement.” Jackson v.

Cty. of Bexar, No. SA-07-CA-928-FB, 2010 WL 11601145, at *3 (W.D. Tex. Feb. 1, 2010).

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“[P]arties may obtain discovery regarding any nonprivileged matter that is relevant to any party’s

claim or defense and proportional to the needs of the case, considering the importance of the issues

at stake in the action, the amount in controversy, the parties’ relative access to relevant information,

the parties’ resources, the importance of the discovery in resolving the issues, and whether the

burden or expense of the proposed discovery outweighs its likely benefit.” Samsung Elecs. Am.

Inc. v. Yang Kun “Michael” Chung, 325 F.R.D. 578, 589 (N.D. Tex. 2017) (quoting FED. R. CIV.

P. 26(b)(1)). “A discovery request is relevant when . . . ‘[it] is reasonably calculated to lead to the

discovery of admissible evidence.’” Sanchez v. Wheaton Van Lines Inc., No. A-19-CV-1145-LY,

2020 WL 4208247, at *1 (W.D. Tex. July 22, 2020) (citing Wiwa v. Royal Dutch Petroleum Co.,

392 F.3d 812, 820 (5th Cir. 2004)). “Relevancy is broadly construed, and a request for discovery

should be considered relevant if there is ‘any possibility’ that the information sought may be

relevant to the claim or defense of any party.’” S.E.C. v. Brady, 238 F.R.D. 429, 437 (N.D. Tex.

2006) (citation omitted) (emphasis added). Discovery rules are “liberally construed so as to permit

the discovery of any matter which is relevant to the subject matter of the action.” Self v. Am. Home

Assur. Co., 51 F.R.D. 222, 223 (N.D. Miss. 1970). Information need not be admissible in evidence

to be discoverable. Fed.R.Civ.P. 26(b)(1).

        A.      Plaintiff is Not the Gatekeeper of Relevance.

        Plaintiff has refused to provide complete responses to the following Requests for

Production:

                Request for Production No. 18: Produce all documents received
                by Plaintiff, her attorneys, or their agents, from any party or non-
                party to this litigation in response to an informal request, Freedom
                of Information Act request (or similar open governance law), or
                subpoena duces tecum, including all transmittal letters.

                Request for Production No. 19: Produce all records, decisions,
                dockets, correspondence, or documents filed in or pertaining to any
                immigration proceeding involving Plaintiff or Decedent before any
                immigration court.

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               Request for Production No. 27: Produce any and all immigration
               and/or asylum records for both you and Decedent. 3

       Plaintiff’s position is that she is entitled to review document responsive to the above

requests, pick which she believes are relevant, and only produce those select documents. This is

improper. By acting as the relevance gatekeeper, she keeps CoreCivic in the dark as to what

documents she withheld and what their contents are.

       The producing party should not be able to unilaterally decide what constitutes a relevant

document. See AdvanceMe, Inc. v. RapidPay, LLC, No. 6:05CV424, 2007 WL 9723976, at *6

(E.D. Tex. July 2, 2007) (“First Funds should not be able to ‘cherry pick’ and unilaterally decide

if thousands of documents relating to the operation of its accused programs are discoverable in this

case. . . . First Funds is required to produce all documentation relating to the process flows, whether

ACH or split process flow, so that AdvanceMe can fully investigate its claim for infringement”);

Clarke v. Epco, Inc., No. CIV.A. 208CV103KSMTP, 2009 WL 1259460, at *1 (S.D. Miss. May

1, 2009) (“While Defendants may be correct in their assertion that some or all of the requested

documents may not be ultimately admissible, Defendants may not unilaterally decide what claims

are valid and take it upon themselves to limit the scope of discovery accordingly. The court finds

that the vast majority of the requested documents are relevant to Plaintiff's claims, and are

reasonably calculated to lead to the discovery of admissible evidence.”); Shapiro v. Sherr, No. CV

18-11187, 2018 WL 8809130 (E.D. Mich. Oct. 4, 2018) (“The parties are forewarned that the

Court will not tolerate them unilaterally and unreasonably deciding that requested discovery is not

relevant or discoverable under proportionality based solely on their own litigation position.”);


3
  CoreCivic also requested releases for Plaintiff and M.J.’s A-Files (Request for Production Nos.
28–29), which Plaintiff refused to provide. (Ex. 1 at ¶ 1.) CoreCivic does not move to compel
those releases as it was able to obtain these files directly from ICE. As detailed below, the contents
of the files obtained by ICE illustrate why Plaintiff cannot be the gatekeeper of relevance.



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Lucas v. Protective Life Ins. Co., No. CIV.A.4:08CV00059-JH, 2010 WL 569743, at *3 (W.D.

Ky. Feb. 11, 2010) (rejecting argument that underwriting materials were not discoverable based

upon the insurer’s “unilateral decision that these other guidelines are not relevant to the claims and

defenses in this action”).

         The Court should reject Plaintiff’s argument that she is the “judge of relevance in the first

instance,” as it allows her to censor her discovery responses and only produce information that is

helpful or supportive of her claims. (Ex. 1 at ¶ 4.) For example, in response to RFP No. 27,

Plaintiff produced 58 pages from her and M.J.’s immigration A-Files. 4 (Id. at ¶ 1.) The complete

A-Files (which CoreCivic obtained directly from ICE) were much more voluminous. Plaintiff’s

A-File is 132 pages and M.J.’s is 50. (Ex. 1 at ¶ 11.) The 124 pages Plaintiff withheld (under the

guise of not being relevant) contained discoverable information that should have been produced to

CoreCivic. For example, Plaintiff withheld documents which describe her and M.J.’s journey the

United States, including that they traveled by raft across the Rio Grande River. (Id., Attachment

G at CC005195.) Significantly, this differs from the description she provided in response to

CoreCivic’s Interrogatory No. 16, which asked her to describe the journey. (Id. at ¶ 1.) In response

to Interrogatory No. 16, she claimed they traveled by car and “stayed at nice hotels.” (Id.) Her

response was devoid of any reference to a raft or the Rio Grande River. (Id.) The travel conditions

M.J. was subject to during this journey are relevant to Plaintiff’s claim that M.J. contracted her

illness at STFRC due to allegedly unsanitary conditions. Additionally, Plaintiff withheld A-File

documents containing statements she made to border patrol agents regarding M.J.’s medical

history and pre-existing conditions. (Id. at ¶ 11, Attachment G at CC005285.) Again, these

statements are inconsistent with statements Plaintiff made on Facebook regarding M.J.’s health


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    Her response did not indicate which documents were from Plaintiff’s and which are from M.J.’s.

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issues in Guatemala. Also included in the withheld documents are statements Plaintiff made

regarding her motive for illegally entering the United States. (Id.) Namely, that she wanted to

reside in New York and seek employment. (Id. at CC005195, CC005197, CC005274.] She

specifically denied fearing persecution or torture if she was returned to Guatemala. (Id.) Yet

again, these statements are inconsistent with the information Plaintiff provided in response to

Interrogatory No. 16. (Id. at ¶ 1.) In response to Interrogatory No. 16, she claimed she came to

the United States to “escape violence back home.” (Id.) This information is relevant to explore

Plaintiff’s emotional distress claims and for impeachment purposes.

        As the contents of this withheld information confirm, all documents responsive to the

above-referenced discovery requests for Plaintiff’s immigration records should be produced as

they provide context to her claims, including information regarding the journey to the United States

and statements Plaintiff made regarding her and M.J.’s residence at STFRC. Moreover, the

information requested in the above-referenced discovery requests is proportional to Plaintiff’s

claims as she has easy access to the information (they are her own records or records she previously

requested). And the issues these discovery requests seek to explore are important as they directly

relate to Plaintiff’s emotional damages, which she requests “in excess” of $1,380,585.66

(Response to Interrogatory No. 2), the cause of M.J.’s illness/death, and to Plaintiff’s credibility.

(Id. at ¶ 1.)

        The above are only examples of information CoreCivic learned Plaintiff had withheld as

the result of its own investigation. 5 CoreCivic anticipates Plaintiff has or will withhold similar

documents. Plaintiff should not be permitted to conceal this information under the generic

5
 Recently, CoreCivic discovered Plaintiff requested donations be made, in M.J.’s honor, to a bank
account maintained by her brother. While this bank account’s existence is responsive to
CoreCivic’s Request for Production No. 10, Plaintiff failed to identify it in response. (Ex. 1 at ¶
1.)

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relevance blanket, especially where she failed to produce a relevance log, or provide any specific

argument as to why CoreCivic is not entitled to the documents she withheld. See Bowcut v. Idaho

State Bd. of Correction, No. CV-06-208SBLW, 2007 WL 1674028, at *5 (D. Idaho June 5, 2007)

(ordering the parties to “provide each other with a copy of relevant documents in their possession,

in a redacted form if necessary for security or privilege purposes; and, if necessary, they shall

provide a security/privilege log sufficiently describing any undisclosed relevant documents which

are alleged to be subject to nondisclosure”). CoreCivic is entitled to complete responses to its

discovery requests which request discoverable information that is proportional to Plaintiff’s

claims. While it is unknown whether this information will be admissible, that is a question for a

later day. At this discovery stage, the information CoreCivic requests is relevant, proportional,

and necessary for it to explore Plaintiff’s allegations and prepare its defenses. Plaintiff should be

compelled to produce all documents responsive to Defendant’s Request for Production Nos. 18,

19, 27, rather than concealing those that are not helpful to her case.

               1.      Plaintiff’s Social Media Accounts are Discoverable.

       CoreCivic’s Request for Production No. 8 requested information regarding Plaintiff’s

social media accounts. “Generally, [social networking site] content is neither privileged nor

protected by any right of privacy.” Gondola v. USMD PPM, LLC, 223 F. Supp. 3d 575, 591 (N.D.

Tex. 2016) (quoting Johnson v. PPI Tech. Servs., L.P., No. 11-2773, 2013 WL 4508128, at *1

(E.D. La. Aug. 22, 2013)); see also Moore v. Wayne Smith Trucking Inc., No. Civ. A. 14-1919,

2015 WL 6438913, at *2 (E.D. La. Oct. 22, 2015) (“It is settled that information on social media

accounts, including Facebook, is discoverable.”). This is because social media usage “depicts a

snapshot of the user’s relationships and state of mind at the time of the content’s posting.” See

Bass v. Miss Porter’s School, No. 3:08CV1807 (JBA), 2009 WL 3724968, at *1 (D. Conn. Oct.



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27, 2009). Because a person’s social media posts are akin to a written diary, it is well-settled that

“[r]elevant information in the private section of [an individual’s] social media account is

discoverable.” Howell v. Buckeye Ranch, Inc., No. 2:11-cv-1014, 2012 WL 5265170, at *1 (S.D.

Ohio Oct. 1, 2012).

       Recognizing the discoverability of her social media accounts, on January 22, 2020, Plaintiff

executed a release for her Facebook account. The release included the disclosure of her username

and password, and permitted CoreCivic to retrieve both the public and private contents of her

account.    Plaintiff’s account contained substantial relevant material, including information

regarding M.J.’s living conditions and medical conditions (both in Guatemala and after her

detention at STFRC), Plaintiff’s behavior after her residence at STFRC, potential witnesses, and

information regarding her emotional state. Additionally, the Facebook account contained several

references to Plaintiff’s Instagram account. When CoreCivic requested Plaintiff execute a similar

release for her Instagram account, however, Plaintiff refused, and instead only produced selected

portions of the account that she deemed were “relevant” to her claims. As explained above, this

is improper. Significantly, Plaintiff cannot explain why she agreed to release the Facebook

contents, but refuses to do the same for her Instagram. 6

       Plaintiff’s Instagram account is discoverable. See, e.g., McGowan v. S. Methodist Univ.,

No. 3:18-CV-141-N, 2020 WL 2199189, at *2 (N.D. Tex. May 6, 2020) (ordering plaintiffs to

produce social media posts reflecting their physical activities and emotional state); Largent v.

Reed, No. 2009-1823, 2011 WL 5632688 (Pa. Ct. Com. Pl. Nov. 8, 2011) (granting the defendant's

motion to compel and requiring the plaintiff to turn over Facebook username e-mail and

6
  Recently, Defense counsel discovered the hashtag “#justiceformariee” has been utilized by
Plaintiff and others to attract media attention on social media outlets. While this information is
responsive to several of Defendant’s discovery requests (Requests for Production Nos. 4, 8),
Plaintiff failed to disclose it. (Ex. 1 at ¶ 1.)

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password); see also Ledbetter v. Wal-Mart Stores, Inc., No. 06-CV-01958, 2009 WL 1067018, at

*1–2 (D. Colo. Apr. 21, 2009) (denying the plaintiff’s request for a protective order regarding

social media content); Robinson v. Jones Lang LaSalle Americas, Inc., No. 3:12-CV-00127-PK,

2012 WL 3763545, at *1–2 (D. Or. Aug. 29, 2012) (“It is reasonable to expect severe emotional

or mental injury to manifest itself in some [social media] content, and an examination of that

content might reveal whether onset occurred, when, and the degree of distress. Further, information

that evidences other stressors that could have produced the alleged emotional distress is also

relevant.”); E.E.O.C. v. Simply Storage Mgmt., LLC, 270 F.R.D. 430, 436 (S.D. Ind. 2010)

(granting motion to compel broad discovery of plaintiff’s social networking site content where

plaintiff alleged emotional distress); Marquez v. Bd. of Cty. Commissioners Eddy Cty., No. CV 11-

0838 JAP/KBM, 2015 WL 13638613, at 2–3 (D.N.M. Jan. 13, 2015) (granting defendants’ motion

to compel plaintiff’s social medial information where plaintiff alleged emotional injuries and

because of the information’s relevance to the subject matter of the case); E.E.O.C. v. Original

Honeybaked Ham Co. of Georgia, No. 11-CV-02560-MSK-MEH, 2012 WL 5430974, *2 (D.

Colo. 2012) (unpublished) (“storing such information on Facebook and making it accessible to

others presents an even stronger case for production, at least as it concerns any privacy objection”).

       Because Plaintiff has an emotional distress claim, the living diary contained in her social

media is relevant. As detailed under Section II(A) supra, this information is also proportional to

the needs of the case as it provides context to Plaintiff’s emotional damages claim—which are

essentially the only damages she seeks here—and is easily accessible to her. Plaintiff should not

be permitted to deprive CoreCivic of the entire story, by selecting only favorable Instagram content

to produce in response to CoreCivic’s request for social media. The Court should compel Plaintiff




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to produce authorizations for her social networking accounts in response to CoreCivic’s Request

for Production No. 8.

          B.     CoreCivic is Entitled to Explore Plaintiff’s Emotional Distress Claim.

          Plaintiff alleges that, as a result of CoreCivic’s alleged negligence, she suffered “extreme

mental and emotional pain and distress, as well as loss of love, companionship, support, enjoyment

of life, and other [damages]. . .” (Dkt. 1 at ¶ 127.) By seeking emotional distress damages, Plaintiff

has “place[d] her mental condition in controversy,” Lahr v. Fulbright & Jaworski, L.L.P., 164

F.R.D. 204, 209 (N.D. Tex. 1996), and “open[ed] the door to evidence of other probable causes of

her distress.” Barten v. State Farm Mut. Auto. Ins. Co., No. CV-12-00399-TUC-CKJ, 2015 WL

11111477, at *2 (D. Ariz. June 17, 2015) (quoting Rettiger v. IBP, Inc., No. 96-4015-SAC, 1999

WL 318153, at *2 (D. Kan. Jan. 6, 1999).

                 1.      Plaintiff’s Complete Medical History is Relevant to her Emotional
                         Distress Claim.

          In addition to the above discovery requests—many of which seek information relevant to

Plaintiff’s emotional distress claim—CoreCivic propounded Request for Production No. 7, which

requests Plaintiff’s medical records. 7 Because Plaintiff’s medical records may reveal other

potential causes for her emotional distress claim, CoreCivic is entitled to explore them. See, e.g.,

Talley v. Spillar, No. A-16-CV-670-LY-ML, 2017 WL 9288622, at *4 (W.D. Tex. Mar. 31, 2017)

(finding plaintiff’s “medical records are clearly relevant to his claim of emotional distress”);

Cummins v. Lollar, No. 4:12-CV-560-Y, 2015 WL 12731746, at *2 (N.D. Tex. Jan. 5, 2015)

(plaintiff’s medical records from five years before alleged workplace incident were relevant and

discoverable); Aubin v. Columbia Cas. Co., No. CV 16-290-BAJ-EWD, 2017 WL 5495526, at *3

(M.D. La. Nov. 16, 2017) (ordering plaintiffs to produce medical records for the past 10 years

7
    CoreCivic subsequently agreed to limit this request to ten years. (Ex. 1 at ¶¶ 5, 9.)

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because plaintiffs “put their mental and physical conditions at issue”); Talley v. McCon v. Perez,

No. 1:17CV77-LG-RHW, 2018 WL 8808145, at *1 (S.D. Miss. Jan. 11, 2018) (granting

defendant’s motion to compel mental health treatment records where plaintiff alleged “mental

anguish, distress, and worry” resulting from defendant’s negligence); E.E.O.C. v. Danka Indus.,

Inc., 990 F. Supp. 1138, 1141–42 (E.D. Mo. 1997) (“[T]he Court finds that the medical records

are discoverable to determine whether the plaintiff-intervenors' past medical history contributed to

their claimed emotional distress.”).

       Plaintiff refused to produce any medical records, arguing the only records that “might be

relevant” are those that pertain to mental health treatment. (Ex. 1 at ¶ 9.) But mental health records

are not the only records that may reveal other potential causes for Plaintiff’s emotional distress.

For example, a physician’s overview, workup, and historical notes may reveal other causes of

emotional distress (e.g., a troubling diagnosis, drug or alcohol abuse, an emotionally taxing event

in the patient’s life, a particular prescription that is used to treat mental health conditions, etc.)

regardless of whether the patient was seeking “mental health” treatment at the time of the

encounter. “Where a plaintiff alleges emotional distress, a defendant is entitled to explore whether

causes unrelated to the alleged wrong contributed to plaintiff's claimed emotional distress, and a

defendant may propound discovery of any relevant medical records of plaintiff in an effort to do

so.” Moore v. Chertoff, No. 00-953(RWR)(DAR), 2006 WL 1442447, at *2 (D.D.C. May 22,

2006) (citing cases) (emphasis added). Plaintiff’s medical records are therefore relevant to her

emotional distress claim. They are also proportional as they go to her $1,380,585.66 emotional

distress claim and are easily accessible, discussed under Section II(A) supra. She should be

compelled to provide them. Because Plaintiff has previously withheld relevant documents,




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CoreCivic requests the Court order Plaintiff execute releases for these records, to prevent her from

cherry-picking their contents.

                2.      Plaintiff’s Previous Criminal & Civil Court Actions are Relevant to
                        her Emotional Distress Claim.

        CoreCivic’s Interrogatory No. 6 requested information regarding Plaintiff’s civil and

criminal court actions. While Plaintiff agreed to provide responsive information for the timeframe

after M.J.’s death, she has refused to provide responsive information that predates her death.

        Plaintiff’s previous court actions are relevant to her emotional distress claim. See Van

Deelen v. Johnson, No. 05-4039-SAC, 2005 WL 8160720, at *3 (D. Kan. July 15, 2005) (finding

“Because plaintiff has made this claim [for damages as a result of emotional distress], the court

finds that it is relevant for defendants to inquire regarding plaintiff’s past lawsuits to determine

what, if any, of the emotional distress damages he is claiming in the instant case might be

attributable to injuries alleged in those prior lawsuits”); Cicero v. City of New York, No. 11 CV

0360 NGG, 2011 WL 3099898, at *3–4 (E.D.N.Y. July 25, 2011) (prior arrests may be relevant in

assessing the cause and extent of emotional distress); Sharpnack v. Kansas, No. 04-4151-JAR,

2005 WL 8160623, at *12 (D. Kan. Aug. 18, 2005) (“The court concludes that information

regarding plaintiff’s prior litigation is clearly relevant to her emotional distress claims. Plaintiff’s

objections are overruled, and defendant’s motion to compel is granted as it relates to this request.”);

Duran v. City of Porterville, No. 1:13-CV-370-BAM, 2015 WL 5598933, at 1–2 (E.D. Cal. Sept.

22, 2015) (denying motion to suppress evidence related to plaintiff’s prior experience with Child

Protective Services because that evidence could dispute emotional distress damages).

        For example, the portion of the A-File received from Plaintiff reveals that she received a

three-month restraining order against M.J.’s father, prior to her entry into the United States. In

addition, documents produced by Plaintiff revealed that on June 2, 2018, she was served with court


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documents requiring her attendance at the Guatemalan prosecutor’s office. Plaintiff’s criminal

history is relevant for impeachment purposes. Other court documents, such as those related to a

restraining order she obtained against M.J.’s father, are relevant to her emotional damages claim

and are proportional to the needs of the case for the same reasons discussed under Section II(A)

supra. That some of these events occurred prior to M.J.’s death is of no significance. CoreCivic

is entitled to explore Plaintiff’s emotional state both before and after the death.

         C.     Information Regarding M.J.’s Living Conditions Prior to her Detention at
                STFRC is Relevant.

         Plaintiff alleges that “unsafe and unsanitary” living conditions at STFRC caused M.J.’s

death.     As such, CoreCivic propounded Request for Production No. 34, which sought all

photographs and/or records of Plaintiff and M.J.’s living conditions from August 13, 2016 to the

time they entered the United States. (Ex. 1 at ¶ 1.)

         Plaintiff’s living conditions prior to her residence at STFRC are relevant to provide context

to what she considers unsafe and unsanitary, and to compare her previous living conditions to

STFRC. They may also reveal alternative causes for Plaintiff’s illness. Plaintiff refused to provide

responsive documents. However, CoreCivic discovered photographs of Plaintiff and M.J.’s living

conditions in Guatemala in the information it received from her Facebook account. Comparing

images of STFRC conditions with the living conditions images from Plaintiff’s Facebook are

telling, and show why the requested information is relevant. (Ex. 1 at ¶ 12.) This information is

also proportional to the needs of the case as it goes to whether conditions at STFRC caused M.J.’s

death. Courts have permitted discovery into historical or context discovery beyond the time period

that the claim actually occurred. See Wesman v. United Parcel Serv., Inc., No. CV 08-457

(DSD/SRN), 2009 WL 10678317, at *2 (D. Minn. Apr. 2, 2009) (granting motion to compel 22

months of historical or context discovery related to the decision makers responsible for plaintiff’s


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termination prior to the time plaintiff arrived at the company); Greater New Orleans Fair Hous.

Action Ctr., Inc. v. Dorian Apartments, LLC, No. CV 15-6406, 2016 WL 6157534 (E.D. La. Oct.

24, 2016) (granting defendant’s motion to compel plaintiff’s residences for the past 15 years for

the purpose of determining the racial integration of the building or immediately surrounding

neighborhood where plaintiff alleged he was denied the benefit of living in a racially integrated

community). The requested information is relevant to Plaintiff’s sanitation claim and the Court

should compel Plaintiff to respond to CoreCivic’s Request for Production No. 34.

       D.      Information Regarding Plaintiff’s Request for and Receipt of Government
               Assistance is Relevant.

       Plaintiff should be compelled to produce applications and requests for government

assistance as requested in Request for Production No. 26. When the parties conferred on June 3,

2020, Defense counsel clarified that it is not interested in the dollar amount of government

assistance provided, but rather in the healthcare information (such as healthcare providers and

dates of treatment) contained in the records. To alleviate Plaintiff’s collateral source concerns,

Defense counsel proposed Plaintiff redact the monetary amounts. Plaintiff refused and has not

provided responsive documents. For the same reasons detailed in II(B) supra, responsive records

are relevant and proportional to the needs of the case. Plaintiff should be compelled to produce

records in response to Defendant’s Request for Production No. 26.

III.   CONCLUSION

       For these reasons, CoreCivic requests that Plaintiff be compelled to produce the discovery

detailed above.



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Dated: September 24, 2020           Respectfully submitted,

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                                CERTIFICATE OF SERVICE
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